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 1                       UNITED STATES DISTRICT COURT

 2                      EASTERN DISTRICT OF CALIFORNIA

 3                                    --o0o--

 4   G.P.P., INC.,                        )     Case No. 1:15-cv-00321-SKO
                                          )
 5                     Plaintiff,         )     Fresno, California
                                          )     Tuesday, June 27, 2017
 6         vs.                            )     9:21 A.M.
                                          )
 7   GUARDIAN PROTECTION PRODUCTS,        )     Jury Trial - Day 5.
     INC., et al.,                        )
 8                                        )
                       Defendants.        )
 9                                        )

10                        TRANSCRIPT OF PROCEEDINGS
                    BEFORE THE HONORABLE SHEILA K. OBERTO
11               UNITED STATES MAGISTRATE JUDGE, and a jury.

12   APPEARANCES:
     For Plaintiff:                       JOHN P. FLYNN
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 1    to do everything they can to mitigate damages.       By hiring three

 2    people for pretty minimal salaries they could have mitigated

 3    their damages.   And if they don't, they're not entitled to a

 4    judgment on that claim.
 5               Turning to -- so that's really what their claims are,

 6    right, that we breached the contract.       We -- that they weren't
 7    under quota, that we threatened them and they have these

 8    exorbitant level of damages.       And I think we've addressed that

 9    and I think the evidence is overwhelming in this case they

10    haven't established any of those claims.
11               Turning to what our claims are, to some extent they

12    were kind of a mirror image.       We are claiming that they're in
13   breach of the contract with us and they're in breach of the

14   implied covenant because they're under quota.        So they say they
15   weren't under quota.     We say they are under quota.     So we have
16   a breach claim based on that.

17               We also have a breach of contract claim, an implied

18   covenant claim, based on dreamGUARD, which I want to get into.

19   But just really quickly, as opposed to their $76 million claim,

20   we've been telling you over and over again, they are not

21   damaged by the termination notices that went out for Alabama,

22   Florida and Tennessee.

23              Now, we do have a breach of contract claim for that
24   and we say that they are in breach, but we are not asking for
25   any specific amount of damages for that, because that would be




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 1   hypocritical.     We haven't been damaged either.    We have a

 2   breach of contract claim and they should have met their quota,

 3   but there's no specific damage to us because the business has

 4   gone on as usual.

 5               So what happens on that is you'll see on the jury

 6   form is something called nominal damages.       We want you to

 7   affirm that we did the right thing, that they're in breach of

 8   the contract, but no one's been damaged here.       So we're only

 9   asking for nominal damage of the -- and you'll see in the form

10   -- give us a dollar of nominal damages for their breach of the

11   contract.     They're clearly in breach, but nobody's been damaged

12   by that.

13               Now, dreamGUARD on the other hand, that's real

14   damages, and I just want to talk to you for a moment about

15   dreamGUARD.    Actually, here's a brief snippet of mitigation.

16   It's just basically what I just said to you, that could have

17   hired two salespersons and a trainer, could have saved millions

18   of dollars and the costs would have been between 100,000 and

19   165,000.

20               So Guardian was harmed by GIS's competition, in

21   violation of the agreements, and we were significantly harmed

22   by dreamGUARD.    So let me show you this.    This is the non-

23   competition clause in the agreements:      Distributor agrees it
24   will not compete with G.P.P. by selling competing products

25   during the term of this agreement in its assigned areas.




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 1    sorry, in lost profits to us from their sale of dreamGUARD.

 2               In addition, they used to by pads from us; ended up

 3    about $800,000 a year in pads.        Our profit margin is seven

 4    percent.   At six years that's $338,000.          So our lost profits

 5    and our damages total to, from the sale of dreamGUARD,

 6    $1,236,000.

 7               And although we're not going to ask you for damages

 8   for the quota breach, we are going to ask you damages for their

 9   sale of dreamGUARD.

10               Now, recall, GIS's whole case is about, we're the bad

11   guys and they're the good guys.            Take a look at this and see if

12   there's any way to determine anything here other than, and

13    reach any other conclusion than they are the bad guys 100

14   percent in this circumstance.

15               Want to talk to you about another issue.          Actually,

16   this is also an issue.      This slide here actually shows loss for

17   Guardian, gain for GIS.      This is their mattress protector

18   purchases from us.     They were up, and as soon as they started

19   up dreamGUARD these purchases all disappeared and the red line

20   shows their sales of dreamGUARD mattresses -- protectors.

21               So you weren't shown this by Mr. Flynn, but here's

22   the definition of what a Guardian label distributor product is.

23   This has to do with and this whole issue is about, are

24   electronic warranties part of these contracts or aren't they.

25   And you have to look to the contract to figure that out.




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 1                                   CERTIFICATE

 2         I certify that the foregoing is a correct transcript from

 3    the electronic sound recording of the proceedings in the above-

 4    entitled matter.

 5

 6    /s/ Mary C. Clark                            Date:   June 27, 2017

 7    Mary C. Clark, Transcriber

 8    AAERT CERT*D-00214
 9

10   /s/ Jennifer Barris                           Date:    June 27, 2017

11   Jennifer Barris, Transcriber

12   AAERT CET*668

13

14   /s/ Elizabeth Reid-Grigsby                    Date:   June 27, 2017

15   Elizabeth Reid-Grigsby, Transcriber

16   AAERT CET*D-00145

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